    Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 1 of 33




               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION
______________________________
                                    )
JAIME H. PIZARRO, CRAIG             )
SMITH, JERRY MURPHY,                )
RANDALL IDEISHI, GLENDA             )
STONE, RACHELLE NORTH,              )
MARIE SILVER, and GARTH             )
TAYLOR, on behalf of themselves )
and all others similarly situated,  )       CIVIL ACTION FILE
                                    )       No. 1:18-cv-01566-WMR
      Plaintiffs,                   )
                                    )
v.                                  )
                                    )
THE HOME DEPOT, INC.; THE           )
ADMINISTRATIVE                      )
COMMITTEE OF THE HOME               )
DEPOT FUTUREBUILDER                 )
401(K) PLAN; THE                    )
INVESTMENT COMMITTEE OF )
THE HOME DEPOT                      )
FUTUREBUILDER 401(K) PLAN; )
AND DOES 1-30,                      )
                                    )
      Defendants.                   )
______________________________


    BRIEF IN SUPPORT OF THE HOME DEPOT DEFENDANTS’
   MOTION TO EXCLUDE THE OPINIONS AND TESTIMONY OF
                   DR. GERALD BUETOW
        Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 2 of 33




                                         TABLE OF CONTENTS

INTRODUCTION .....................................................................................................1

BACKGROUND .......................................................................................................1

LEGAL STANDARD ................................................................................................5

ARGUMENT .............................................................................................................6

I.       Dr. Buetow’s Damages Calculations for the Challenged Funds Are
         Unreliable and Unhelpful. ...............................................................................6

         A.       The Calculations Rely on Dr. Laffer’s Unreliable Removal Dates. .....6

         B.       The Calculations for the Challenged Funds Removed During the
                  Class Period Make a Critical Error that Substantially Inflates
                  Damages. ...............................................................................................6

         C.       Dr. Buetow’s Hypothetical “Universe Average” Is Neither Helpful
                  Nor Reliable as a Measure of Damages. ...............................................9

         D.       Dr. Buetow’s “Best Performing Fund” Method Is Contrary to
                  ERISA Law and Would Always Result in Damages. .........................12

II.      Dr. Buetow Does Not Offer a Reliable Basis for His Damages
         Comparators for Professional Management. .................................................13

         A.       Dr. Buetow’s Experience Running Investment Portfolios Is Not the
                  Same as Running a Service Like Professional Management. .............14

         B.       Dr. Buetow Fails to Explain Why His Inapposite Experience Supports
                  His Selection of Comparators. ............................................................16

III.     Dr. Buetow’s Regression Analyses Are Not Reliable or Helpful to the
         Finder of Fact. ................................................................................................19

         A.       Dr. Buetow’s Regression Analysis to Calculate Damages for
                  Professional Management Is Not Reliable or Helpful to the Trier of
                  Fact. .....................................................................................................19

                                                              i
        Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 3 of 33




         B.       The Regression Analysis Contained in Dr. Buetow’s Rebuttal Report
                  Should Be Excluded Because It Cannot be Verified. .........................23

CONCLUSION ........................................................................................................25




                                                         ii
         Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 4 of 33




                                       TABLE OF AUTHORITIES

                                                                                                                 Page(s)

Cases

Barnette v. Grizzly Processing, LLC,
  No. 10-77-ART, 2012 WL 293305 (E.D. Ky. Jan. 31, 2012) ............................ 25

Daubert v. Merrell Dow Pharms., Inc.,
  509 U.S. 579 (1993) .....................................................................................passim

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  960 F.3d 478 (8th Cir. 2020) .............................................................................. 12

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  704 F.2d 613 (11th Cir. 1983) ............................................................................ 19

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   No. CIV.A 4:94CV0198-HLM, 1997 WL 538887 (N.D. Ga. Aug.
   25, 1997) ............................................................................................................. 22

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   238 F.R.D. 130 (S.D.N.Y. 2006) ........................................................................ 22

George v. Kraft Foods Global, Inc.,
  800 F. Supp. 2d 928 (N.D. Ill. 2011) .................................................................. 13

Kumho Tire Co. v. Carmichael,
  526 U.S. 137 (1999) ........................................................................................9, 12

Lewis v. FMC Corp.,
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                                                            iii
         Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 5 of 33




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  No. 2:16-cv-06794-AB, 2019 WL 4058583 (C.D. Cal. Aug. 14,
  2019) ................................................................................................................... 14

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  401 F.3d 1233 (11th Cir. 2005) .......................................................................... 25

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   No. 1:15-CV-4444-MHC, 2019 WL 4439606 (N.D. Ga. Feb. 25,
   2019) ................................................................................................................... 13

Ramos v. Banner Health,
  461 F. Supp. 3d 1069 (D. Colo. 2020)................................................................ 24

Pension Ben. Guar. Corp. ex rel. St. Vincent Cath. Med. Centers Ret.
  Plan v. Morgan Stanley Inv. Mgmt. Inc.,
  712 F.3d 705 (2d Cir. 2013) ............................................................................... 12

Supply & Bldg. Co. v. Estee Lauder Int’l, Inc.,
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Statutes

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Other Authorities

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Federal Rule of Evidence 702 .................................................................................... 5

                                                              iv
        Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 6 of 33




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   Plans, 401k Specialist (Mar. 15, 2021),
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                                                         v
      Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 7 of 33




                                INTRODUCTION

      Plaintiffs’ expert Gerald W. Buetow, Ph.D. offers potential damages

calculations for the losses allegedly caused to The Home Depot FutureBuilder

[401(k) Plan] (the “Plan”) by Defendants’ purported fiduciary breaches. Instead of

providing guidance on an appropriate measure of damages in this ERISA case,

Dr. Buetow offers arbitrary and idiosyncratic calculations and asks the Court to take

his word for it that his methodologies make sense. The Court should decline his

offer and exclude his reports and testimony.

                                 BACKGROUND

      Dr. Buetow is a consultant who previously worked as an investment portfolio

manager.1 He developed, managed, and sold portfolios of exchange-traded funds

(“ETFs”) and other “fund-of-fund” solutions, like target date funds (“TDFs”).2 He

has also advised 401(k) plans on their investment menus.3 Dr. Buetow does not,

however, have material experience with any “managed account” individualized

investment advisory service, like the ones at issue here.4


1
  Amended Expert Report of Gerald W. Buetow, Jr. (“Buetow Rep.”) (Doc. 233-26)
¶¶ 6–17.
2
  Deposition of Gerald Buetow (“Buetow Dep.”) (Ex. A) at 25:04–26:18; Buetow
Rep. ¶¶ 8–11.
3
  See Buetow Dep. at 28:24–30:05.
4
  See Buetow Rep. ¶¶ 6–22. “In a managed account program, an advisor, assuming
fiduciary responsibility under ERISA, constructs or recommends a customized
      Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 8 of 33




      Plaintiffs offer Dr. Buetow to “provide expert analysis and opinions on the

damages suffered by” Plan participants who either (1) invested in the Challenged

Funds5 or (2) enrolled in Professional Management.6 Dr. Buetow also opines that

Professional Management is comparable—for purposes of calculating appropriate

fees—to other types of investments or investment services, such as TDFs.7

      Challenged Funds. Dr. Buetow offers alternative damages calculations

comparing the Challenged Funds’s returns against his “replacement funds”:

      1.   “Passive Replacement” compares the actively managed Stephens,
           TS&W, and BlackRock Funds to certain passively managed funds.8

      2.   “Universe Average” compares the Stephens, TS&W, and BlackRock
           Funds against a hypothetical fund with hypothetical returns matching the
           “average” of each Fund’s “peer universe.”9



portfolio for an individual [defined contribution plan] participant tailored to the
participant’s age, financial circumstances, . . . and other information unique to the
individual.” John Sullivan, Spotlight: The Value of Managed Accounts in 401k
Plans, 401k Specialist (Mar. 15, 2021), https://401kspecialistmag.com/spotlight-
the-value-of-managed-accounts-in-401k-plans/.
5
  The “Challenged Funds” are the Stephens Small Cap Growth Fund, TS&W Small
Cap Value Fund, JPM Stable Value Fund, and BlackRock LifePath Indices.
6
  Buetow Rep. ¶ 2.
7
  Id.
8
  Id. ¶¶ 94, 109, 123–25.
9
  Id. ¶¶ 95–98, 110–13, 126–29. Dr. Buetow notably did not apply this method to
the JPM Stable Value Fund, instead using only his “Best Performing Fund” method.
See id. Applying the “Universe Average” method to the JPM Stable Value Fund
results in negative damages. See Expert Rebuttal Report of Russell R. Wermers,
Ph.D. (“Wermers Rebuttal”) (Doc. 233-27) ¶¶ 43–44.

                                         2
      Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 9 of 33




      3.   “Best Performing Fund” compares each Challenged Fund against the
           “best performing” fund chosen, with perfect hindsight, from each Fund’s
           “peer universe.” To find the “best” funds, Dr. Buetow (1) identified the
           top 20% of funds based on their post hoc information ratios,10
           (2) removed funds with managers who Dr. Buetow subjectively
           determined lack a “long” and “rich” history as investment managers,11
           and then (3) picked the remaining fund with the highest post hoc
           returns.12

Dr. Buetow relied on a software program called “MPI Stylus” to identify his “peer

universe” and return data for both the “Universe Average” and “Best Performing

Fund” methods.13     He failed to document his calculations, however, because

“[y]ou’ve got to recompute it every time you open up the software.”14

      Professional Management.         Dr. Buetow also offers various damages

calculations for Professional Management, by comparing the fees that Plan

participants paid to the two companies that provided Professional Management—

Financial Engines and later Alight Financial Advisors (“AFA”)—against the fees

charged by: (1) a target-date fund, (2) another managed account provider,

ProManage, and (3) the fees Financial Engines began charging AFA in 2017 when


10
   An “information ratio” measures the ratio of an investment’s excess return (that
is, return over its benchmark) to its tracking error (that is, volatility relative to
benchmark), to assess risk-adjusted performance. See id. ¶ 100.
11
   Id.
12
   Id. ¶¶ 99–102, 114–17, 130–33, 139–45.
13
   See id. ¶¶ 97, 112, 115, 128, 131; Buetow Dep. at 19:24–20:4, 161:1–25, 170:14–
172:3, 177:4–178:20.
14
   Id. at 171:23–24.

                                         3
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 10 of 33




AFA replaced Financial Engines as the Plan’s Professional Management provider

and hired Financial Engines to perform sub-advisory services.15

      To justify the premise underlying these Professional Management fee

comparisons, Dr. Buetow relied upon his experience designing and managing

investment portfolios, like TDFs.16 According to Dr. Buetow, these portfolios

offered the same “automated” and “algorithmic” investment advice as Professional

Management.17 Dr. Buetow then invoked this experience to opine on, among other

things, the pricing of Professional Management as compared to TDFs18 and

ProManage,19 and the connectivity fees the Plan’s recordkeeper charged Financial

Engines to permit secure access to participants’ accounts.20

      Dr. Buetow also conducted two regression analyses to offer additional

conclusions. The first analysis, in Dr. Buetow’s Supplemental Report, purports to



15
   Buetow Rep. ¶¶ 62–86.
16
   See id. ¶ 3 (noting opinions are based “on my review of the documents produced
in the case, the calculations I conducted, and my experience in the retirement plan
industry”), ¶ 55 (citing “experience operating the investment area in two firms”);
¶ 58 (stating ProManage “prices their services in a manner consistent with my
experience”).
17
   See id. ¶ 55; Buetow Dep. at 44:6–21; 49:13–50:2.
18
   See Buetow Rep. ¶ 55.
19
   See id. ¶ 58.
20
   See Rebuttal Expert Report of Gerald W. Buetow, Jr. (“Buetow Rebuttal”) (Doc.
233-24) ¶ 52 (citing own “experience with connectivity fees” to support opinion that
fee charged by Aon to Financial Engines was too high).

                                         4
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 11 of 33




calculate the “implied fee” Home Depot supposedly should have paid based on the

fees paid by Financial Engines and AFA’s other clients.21 The second analysis, in

his Rebuttal Report, tries to compare the performance of participants who enrolled

in Professional Management versus those who did not.22

                                LEGAL STANDARD

      “[I]n determining the admissibility of expert testimony under Rule 702,

[courts] engage in a rigorous three-part inquiry” to determine whether (1) an expert

is qualified, (2) his methodology is reliable, and (3) his opinions will assist the trier

of fact “through the application of scientific, technical, or specialized expertise.”23

The burden to satisfy each of these elements “always” rests with “[t]he proponent of

[the proposed] expert testimony.”24 And “[w]hile there is inevitably some overlap

among” these three elements, “they remain distinct concepts and the courts must

take care not to conflate them.”25




21
   Supplemental Expert Report of Gerald W. Buetow, Jr. (“Buetow Supp. Rep.”)
(Ex. B).
22
   Buetow Rebuttal ¶¶ 53–73.
23
   United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (internal quotations
omitted).
24
   Id.
25
   Id.

                                           5
          Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 12 of 33




                                     ARGUMENT

     I.   Dr. Buetow’s Damages Calculations for the Challenged Funds Are
          Unreliable and Unhelpful.

          A. The Calculations Rely on Dr. Laffer’s Unreliable Removal Dates.

          Dr. Buetow’s calculations for the Challenged Funds necessarily run from a

start date (i.e., when the Challenged Funds should have replaced). Dr. Buetow

admits he did no independent analysis to confirm the validity of those start dates,

and simply plugged in the replacement dates chosen by Plaintiffs’ other expert, Dr.

Laffer.26 As explained in Defendants’ motion to exclude Dr. Laffer’s opinions, the

methodology Dr. Laffer used to pick these dates is unreliable and contrary to settled

ERISA law.27 Because Dr. Buetow’s calculations completely depend on those

unreliable “inputs,” his “outputs” lack a “reliable foundation.”28

          B.   The Calculations for the Challenged Funds Removed During the
               Class Period Make a Critical Error that Substantially Inflates
               Damages.

          Dr. Buetow’s calculations are not reliable because of an elementary mistake

that substantially inflates the alleged “damages”: Even though the four Challenged

Funds that were removed from the Plan during the Class Period—the TS&W Fund,

Stephens Fund, and BlackRock 2015 and 2020 LifePath Indices—each earned


26
   Buetow Dep. at 90:1–13.
27
   See Mot. to Exclude Opinions and Testimony of Arthur Laffer (Doc. 234-1).
28
   Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 597 (1993).

                                           6
       Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 13 of 33




positive returns during their last quarter in the Plan, he assigned zero value to those

returns.29 Yet, he also gave his replacement funds full credit for their returns earned

during the same quarter.30 This error inflates the delta—and thereby the damages—

by artificially reducing the Challenged Funds’ returns, without any corresponding

reduction for his replacement funds. In the case of the Stephens Fund, for example,

Dr. Buetow’s error triples the alleged damages (using his “universe average”

approach),                                                                .31

        The inflation of the Stephens Fund’s alleged damages is not an aberration.32

The damages for each Challenged Fund spiked during this last critical quarter. For

example, the damages Dr. Buetow calculated for the BlackRock 2015 TDF under

his “passive replacement”
                                      33
                                        :


29
    Exhibit 3 to Buetow Rep., “Returns” Tab (Ex. C, pp. 1–2). The TS&W and
Stephens Funds were removed in Q4 2017, but still earned returns in October 2017,
the first month of that quarter. The BlackRock 2015 LifePath Index was removed
in Q4 2014 but still earned returns in October 2014, and the BlackRock 2020
LifePath Index was removed in Q4 2019 but still earned returns in October 2019.
See Wermers Rebuttal ¶ 24.
30
   See id., “ReplReturns” Tab (Ex. C, pp. 3–4).
31
   See Wermers Rebuttal, Ex. 2.
32
   See id.
                                                        ; id., Ex. 3

                         ).
33
     Wermers Rebuttal App. B–C.

                                            7
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 14 of 33




These extreme swings in damages, during the quarter Dr. Buetow intentionally

omitted the Challenged Fund’s actualized returns, do not pass the common-sense

test, much less Daubert. Rather, these damages—and the error that caused them—

demonstrate that Dr. Buetow’s opinion lacks the “indicia of reliability” needed for

admission under Daubert.34 Simply put, Dr. Buetow is using two different sets of

return data—one ending a quarter early, and one not—to compare Challenged Funds




34
  See, e.g., Lippe v. Bairnco Corp., 288 B.R. 678, 694 (S.D.N.Y. 2003) (Chin, J.);
see also Lewis v. FMC Corp., 786 F. Supp. 2d 690, 703 (W.D.N.Y. 2011) (holding
that where an expert’s “errors” demonstrate that he “has not applied principles and
methods reliably to the facts of [the] case,” his opinions should be excluded).

                                        8
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 15 of 33




with his replacement funds. Such “apples and oranges” comparisons show a lack of

“intellectual rigor” that makes the creator’s opinions unreliable and inadmissible.35

      Dr. Buetow does not dispute that he performed his calculations this way but

defends attributing a zero return to the Challenged Funds as a reasonable assumption

because “it takes time to transition assets.”36 But this is demonstrably false: other

documents (all produced to Plaintiffs) show that the transition to new funds took

days, not months.37 Dr. Buetow may make reasonable assumptions in reaching his

opinions, but his assumptions cannot be counterfactual.38

      C. Dr. Buetow’s Hypothetical “Universe Average” Is Neither Helpful
         Nor Reliable as a Measure of Damages.

      In addition, Dr. Buetow’s “universe average” method is not helpful because it

does not provide a measure of damages permitted under ERISA, which allows



35
   See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999); Lippe, 288 B.R. at
694 (valuation expert uses different earnings figures to compare target company and
comparator companies).
36
   Buetow Dep. at 229:7–230:19.
37
   See Ex. D (Nov. 15, 2017 Email) (noting
                                                                                   ).
38
   See Graves ex rel. W.A.G. v. Toyota Motor Corp., No. 2:09-CV-169-MTP, 2012
WL 1596723, at *9 (S.D. Miss. May 4, 2012) (“If the foundational data underlying
opinion testimony are unreliable, an expert will not be permitted to base an opinion
on that data because any opinion drawn from that data is unreliable.”) (citation
omitted); Supply & Bldg. Co. v. Estee Lauder Int’l, Inc., No. 95 CIV. 8136 (RCC),
2001 WL 1602976, at *5 (S.D.N.Y. Dec. 14, 2001) (excluding expert testimony that
is based on assumptions “contradicted by other data available to” the expert).

                                          9
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 16 of 33




recovery of “any losses to the plan” caused by fiduciary breaches.39 Courts typically

construe this to mean the difference between the plan’s actual profit and the

“potential profit that could have been realized in the absence of breach.”40 But Dr.

Buetow’s “universe average” method does not provide a measure of “potential

profit.” It measures a “profit” that could not have been realized, from a hypothetical

investment return created by Dr. Buetow. As such, it is not “sufficiently tied to the

facts of the case that it will aid [the factfinder] in resolving a factual dispute.”41

       Dr. Buetow’s “universe average” method is also unreliable because it reflects

an idiosyncratic calculation by Dr. Buetow rather than any accepted benchmark for

fund performance. Dr. Buetow explained at his deposition that his “peer universes”

consist of funds in the same Morningstar category as a Challenged Fund “as of the

end of 2020.”42 But Morningstar categories change over time,43 and funds can

switch categories, which Dr. Buetow appeared to learn for the first time during his


39
   29 U.S.C. 1109(a).
40
   Wildman v. Am. Century Servs., LLC, 362 F. Supp. 3d 685, 710 (W.D. Mo. 2019)
(citing Roth v. Sawyer-Cleator Lumber Co., 61 F.3d 599, 604 (8th Cir. 1995)).
41
   Daubert, 509 U.S. at 591 (citation omitted).
42
   See Buetow Dep. at 161:12–162:23.
43
   Morningstar “categories” identify funds with similar holdings. See Morningstar,
The Morningstar Category Classifications (Apr. 29, 2016), available at
https://morningstardirect.morningstar.com/clientcomm/Morningstar_categories_U
S_April_2016.pdf, at 8 (noting Morningstar “engages in a formal category review
process twice each year” that may result in proposing “a change to a fund’s
category”).

                                            10
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 17 of 33




deposition.44 Consequently, Dr. Buetow’s “universe averages” measure, in effect,

how a Challenged Fund’s peer funds in 2020 performed over the Class Period (which

starts in 2012). This is materially different than calculating the performance of a

Challenged Fund’s peer funds dynamically during the Class Period. For example,

several funds in Dr. Buetow’s peer groups for the Small Cap funds were, during the

relevant time period, categorized as mid-cap or international funds.45        These

non-small-cap funds say little, if anything, about how the Small Cap Funds

performed against their actual small-cap peers during the Class Period.

      Dr. Buetow says that he used data available to him through the MPI Stylus

software (for which he has no documentation).46 But as Defendants’ expert, Russell

Wermers, Ph.D., showed, historical lists of Morningstar peer funds are also available

to compare a Fund’s performance against what its peer group actually was at the

relevant time.47 Dr. Buetow does not explain why he did not use the correct data or

attempt a similar calculation. Moreover, it is unclear how Dr. Buetow even did his

own calculation: over half the “peer universe” funds he lists for the Stephens and


44
   For example, the TS&W Fund’s Morningstar category changed from Small Cap
Value to Small Cap Blend in 2014. See Expert Report of Russell R. Wermers (Doc.
233-22) (“Wermers Report”), Ex. 11 n.2; Buetow Dep. at 163:18–165:16.
45
   See Buetow Dep. at 164:13–165:16; Buetow Dep. Exhibit 7 (Ex. E) (comparison
of certain “peer universe” funds by 2016 and 2020 Morningstar categories).
46
   See Buetow Dep. at 168:3–169:3.
47
   See Wermers Rep., Exs. 5 & 11.

                                         11
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 18 of 33




TS&W Funds were discontinued prior to 2020—some as early as 2013.48

Dr. Buetow has provided no documentation of how he accounted for these funds or

otherwise calculated his average returns.49

      In short, while it may be customary to measure an investment against its

contemporary peers, that is not what Dr. Buetow’s method does. And he has offered

no evidence that his own anachronistic calculation is “generally accepted in the

relevant . . . community” of investment analysts.50

      D. Dr. Buetow’s “Best Performing Fund” Method Is Contrary to
         ERISA Law and Would Always Result in Damages.

      Dr. Buetow’s “best performing fund” method offers a damages calculation at

odds with ERISA law. This method relies on the benefit of hindsight to retroactively

select as a comparator the fund with the “best” performance over the relevant time

period. The law is clear that “fiduciaries are not required to pick ‘the best performing

fund,’”51 nor are their investment decisions to be judged “from the vantage point of

hindsight.”52 As this court has recognized, “[e]xpert opinions that conflict with


48
   See Exs. F, G (list of Morningstar categories for funds in peer universes used to
calculate “universe average” damages for Stephens and TS&W Funds).
49
   See Buetow Dep. at 170:14–172:23.
50
   Kumho, 526 U.S. at 151.
51
   See, e.g., Davis v. Washington Univ. in St. Louis, 960 F.3d 478, 486 (8th Cir. 2020)
(internal citation omitted).
52
   Pension Ben. Guar. Corp. ex rel. St. Vincent Cath. Med. Centers Ret. Plan v.
Morgan Stanley Inv. Mgmt. Inc., 712 F.3d 705, 716 (2d Cir. 2013) (citation omitted).

                                          12
      Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 19 of 33




controlling law are unreliable” and thus inadmissible.53       Dr. Buetow’s “best

performing fund” method penalizes fiduciaries for failing to predict the best

performing investment, a feat ERISA law clearly states is not the standard to which

fiduciaries are held.54 After all, it would always result in damages for all plan

fiduciaries, save the extremely lucky (or prophetic).

      Dr. Buetow’s method also cannot be tested objectively: his selection of the

“best” fund relies on his own subjective assessment of what fund managers pass, in

his words, the “sniff test,”55 and his calculations were performed through MPI

Stylus, and thus not replicable.56

II.   Dr. Buetow Does Not Offer a Reliable Basis for His Damages
      Comparators for Professional Management.

      Dr. Buetow compares Professional Management fees against those of: (1) a

target date fund; (2) ProManage; and (3) the fees paid by AFA to Financial Engines

for sub-advisory services.57 To explain why these comparators are appropriate,



53
   Pledger v. Reliance Tr. Co., No. 1:15-CV-4444-MHC, 2019 WL 4439606, at *8
(N.D. Ga. Feb. 25, 2019).
54
   See, e.g., George v. Kraft Foods Global, Inc., 800 F. Supp. 2d 928, 934 (N.D. Ill.
2011) (ERISA’s prudence “standard is objective” and “to the extent [that an expert]
relies upon an improper statement of ERISA’s prudence requirement,” his testimony
is “inadmissible”).
55
   Buetow Dep. at 180:25–181:23.
56
   Id. at 189:13–190:1.
57
   Buetow Rep. ¶¶ 72–86.

                                         13
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 20 of 33




Dr. Buetow relies on his experience designing and selling plan-wide investment

portfolios.58 But Dr. Buetow’s appeal to experience relies on a facile comparison

between the plan-wide investment funds he has managed and the individualized

investment service that Professional Management offers. While Dr. Buetow’s

experience may be relevant to analyzing the investment methodology of the

Professional Management service, it is not a sound basis to opine on the cost of

operating customized advisory services, nor the appropriate pricing for the same.

      A. Dr. Buetow’s Experience Running Investment Portfolios Is Not the
         Same as Running a Service Like Professional Management.

      As at least one court has recognized, an expert who seeks to opine on managed

account fees must demonstrate specific expertise with those fees.59 By contrast,

Dr. Buetow supports his damages opinions by arguing that the types of “funds-of-

funds” (like TDFs) that he has managed over his career are “conceptually” the same

as Professional Management.60 Dr. Buetow bases this opinion on his belief that

Professional Management derives its investment advice from an “algorithmic”

model that, on average, produces investment allocations similar to those found in a


58
   See supra n.16.
59
   See Marshall v. Northrop Grumman Corp., No. 2:16-cv-06794-AB, 2019 WL
4058583, at *7 (C.D. Cal. Aug. 14, 2019) (finding proposed expert’s experience with
other types of fees “not germane” to proposed testimony regarding fees charged by
recordkeeper to Financial Engines).
60
   Buetow Rep. ¶ 55.

                                        14
      Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 21 of 33




TDF.61 From this starting premise, Dr. Buetow extrapolates opinions about how

Professional Management should be priced.62

       But Dr. Buetow glosses over important differences between investment funds

and managed account services like Professional Management. Most fundamentally,

a managed account service allows participants to get customized investment advice

based on personal information. Investment funds do not. Dr. Buetow concedes this

difference, and instead argues that the customization offered by managed accounts

is an illusory benefit because participants could achieve similar results by investing

in different funds themselves.63 But it is a truism to say that a participant could

invest in the same funds that his or her advisor recommends. What the participant

is paying for—and what Dr. Buetow’s argument ignores—is the advice on what

funds to select. Indeed, Dr. Buetow acknowledged that participants in plans that

used his funds-of-funds solutions often received separate advice about which funds

to select.64

        Despite Dr. Buetow’s claims, multi-fund investments like TDFs are not the

same as managed account services like Professional Management. In fact, the



61
   Id. ¶¶ 35–57.
62
   Id. ¶ 55.
63
   See id. ¶¶ 47–49; Buetow Dep. at 102:1–16.
64
   Buetow Dep. at 45:14–47:7.

                                         15
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 22 of 33




Department of Labor recognizes that “funds-of-funds” like TDFs and managed

account services are distinct alternatives.65    Dr. Buetow’s experience running

investment portfolios is thus not the same as having specific experience with pricing

managed account services.

      B.   Dr. Buetow Fails to Explain Why His Inapposite Experience
           Supports His Selection of Comparators.

      Under Eleventh Circuit precedent, an expert who relies upon experience in

forming his or her opinions must explain: (1) how the experience leads to the

conclusion reached; (2) why that experience is a sufficient basis for the opinion, and

(3) how the experience is reliably applied to the facts.66 Dr. Buetow fails to do this

for any of his three damages comparators.

      Target date funds.      Dr. Buetow does not show how his professional

experience is a sufficient basis for his opinion that Professional Management “is

comparable to a target date fund and should be priced accordingly.”67 Again, none

of Dr. Buetow’s experience managing inapposite investment portfolios is relevant

to how managed account services should be priced appropriately. While Dr. Buetow



65
   See 29 C.F.R. § 2550.404c-5(e)(4)(i) & (iii) (Apr. 30, 2008) (listing “targeted-
retirement-date” funds and “managed account” services as distinct options for a
plan’s qualified default investment alternative).
66
   Frazier, 387 F.3d at 1261.
67
   Buetow Rep. ¶ 55.

                                         16
      Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 23 of 33




argues that various sources support his opinion,68 his recitation of evidence is not

helpful to the trier of fact.69

       ProManage. Dr. Buetow states that ProManage “prices their [sic] services in

a manner consistent with my experience,”70 and also that, “[i]n [his] experience,”

ProManage’s services “are quantitative and largely automated” and thus should be

capable of servicing a large plan like Home Depot’s.71 But again, the “experience”

to which Dr. Buetow refers is his experience managing investment funds. And he

does not explain how this experience supports his opinion—which, as noted by

Defendants’ experts, ignores key differences between ProManage and Financial

Engines72—other than asserting that both are “algorithmic.”

       Financial Engines’ Sub-advisory Fees. The most extreme illustration of

Dr. Buetow’s false equivalence between an investment fund and a managed accounts

service is his opinion that Financial Engines should have charged to participants as

a direct advisor the same fee it charged to AFA as a subadvisor.73 As Defendants’



68
   Buetow Rep. ¶¶ 35–54.
69
   See Frazier, 387 F.3d at 1262–63 (“Proffered expert testimony generally will not
help the trier of fact when it offers nothing more than what lawyers for the parties
can argue in closing arguments.”).
70
   Buetow Rep. ¶ 58.
71
   Buetow Rebuttal ¶ 18.
72
   See Rebuttal Report of Steven K. Gissiner (Ex. H) (“Gissiner Rebuttal”) ¶ 30.
73
   See Buetow Rep. ¶¶ 60–61.

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     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 24 of 33




expert Steven Gissiner explained, a subadvisor simply develops investment advice,

while a direct advisor both develops the advice and delivers it to the plan

participants.74   Indeed, Dr. Buetow’s comparison ignores that when Financial

Engines was a direct advisor to the Plan, it paid the Plan’s recordkeeper a

connectivity fee to help deliver its advice to participants.75

      Dr. Buetow does not engage with this point other than to dismissively equate

the roles of advisor and subadvisor as “conceptually no differen[t].”76 Again,

Dr. Buetow claims that he is qualified to offer this opinion because he spent eight

years developing “investment solutions” like his ETF portfolios, and has experience

with “connectivity fees” for those portfolios.77       But as the court in Northrop

Grumman held, an expert’s general experience with one type of recordkeeping fee

is not the same as experience with a connectivity fee for a managed account

provider.78




74
   See Gissiner Rebuttal ¶ 43.
75
   Id. ¶ 44.
76
   See Buetow Dep. at 139:14–141:01.
77
   Id. at 246:05–248:15; Buetow Rebuttal ¶ 52.
78
   See 2019 WL 4058583, at *7.

                                           18
        Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 25 of 33




III.     Dr. Buetow’s Regression Analyses Are Not Reliable or Helpful to the
         Finder of Fact.

         A. Dr. Buetow’s Regression Analysis to Calculate Damages for
            Professional Management Is Not Reliable or Helpful to the Trier of
            Fact.

         Using confidential client fee data that Financial Engines and AFA were

ordered to produce in this litigation (and that was not available to Home Depot when

it negotiated its agreements with Financial Engines and AFA), Dr. Buetow performs

a regression analysis to estimate what Home Depot supposedly “should” have paid.79

Dr. Buetow’s regression analysis suffers from numerous conceptual flaws that

render it unreliable and unhelpful.

            1.   Dr. Buetow’s Regression Analysis Uses the Wrong Dependent
                 Variable.

         Regression analysis is a statistical model that can be used to measure the effect

of one or more variables (the “independent” variables) on a variable of interest (the

“dependent” variable).80 Here, Dr. Buetow runs a regression analysis to determine

the effect of two variables—(1) the total assets managed by Financial Engines or

AFA in a given 401(k) plan (“Total Managed Assets”) and (2) the average member

balance of that plan (“Average Member Balance”)—on the total fees paid by the




79
     Buetow Supp. Rep. ¶¶ 48–51.
80
     See, e.g., Eastland v. Tenn. Valley Auth., 704 F.2d 613, 622 (11th Cir. 1983).

                                            19
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 26 of 33




plan to Financial Engines and AFA (“Total Fees Paid”). Total Managed Assets and

Average Member Balance are the independent variables, and Total Fees Paid is the

dependent variable.81

      While regression analysis can be a helpful tool, it is only useful if measuring

the right variables. For example, in Winn-Dixie Stores, Inc. v. Dolgencorp, LLC, the

district court excluded under Daubert a regression analysis offered to measure

damages Winn-Dixie suffered from competing stores’ violations of restrictive lease

covenants because it used the wrong independent variable: instead of analyzing the

effect of the competing stores’ lease violations on Winn-Dixie’s revenue, it analyzed

the effect of the stores generally on Winn-Dixie’s revenue.82 In affirming the district

court, the Eleventh Circuit noted this lack of “fit” between what the regression

purported to measure and what it actually measured supported the conclusion that it

was neither reliable nor helpful to the finder of fact.83

      As in Winn-Dixie, Dr. Buetow’s regression analysis uses an overly broad

variable that undermines its usefulness and reliability.      In this case, it is the

dependent variable of Total Fees Paid, which includes the two different types of fees

that Financial Engines and AFA charged: (1) a flat fee charged to every active


81
   Buetow Supp. Rep. ¶¶ 25–42.
82
   746 F.3d 1008, 1027–28 (11th Cir. 2014).
83
   Id. at 1028–29.

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     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 27 of 33




participant for Financial Engines’ “Online Advice” service—which is not being

challenged in this case—and (2) an asset-based fee charged to those participants who

elected to enroll in Professional Management.

      This overbroad dependent variable does more than make Dr. Buetow’s

regression analysis a bad “fit”; it renders his work useless. Despite not being part of

Plaintiffs’ claim, the flat Online Advice fee constitutes a significant portion of the

overall fees paid by Home Depot during the Class Period. For example, the Online

Advice fee constituted over                        of the total fees paid in 2014.84

Dr. Buetow’s regression provides no insight into how much of the difference

between his “implied” fee and the fee Home Depot actually paid is due to the Online

Advice fee. Put simply, Plaintiffs’ claim in this case is that Home Depot caused Plan

participants to overpay Professional Management fees, but Dr. Buetow’s regression

analysis measures something completely different: Total Fees Paid (much of which

are not Professional Management fees). Dr. Buetow’s analysis does not measure

Plaintiffs’ claim, obscures more than it illuminates, and is unhelpful as a measure of

damages for the claim that is before this Court.



84
  See Ex. I (July 1, 2013 Financial Engines Invoice) & Ex. J (July 1, 2014 Financial
Engines Invoice) (                                                ); Ex. K (Annual
Return/Report of Employee Benefit Plan (Form 5500) for the Home Depot
FutureBuilder (2014)) at 3 (approximately $4,385,000 million total fees paid).

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     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 28 of 33




          2.   Dr. Buetow’s Regression Analysis Omits a Crucial Independent
               Variable.

      In addition to using the wrong dependent variable, Dr. Buetow’s regression

analysis also omits at least one critical independent variable: the total number of

participants in Professional Management. A regression analysis is unreliable if it

fails to include all variables that are “likely to affect” the results of the regression.85

If the moving party can (1) identify at least one omitted variable and (2) demonstrate

that the omitted variable would likely alter the results of the regression analysis, then

the court should exclude it.86 Dr. Buetow’s regression analysis does not even

consider the effect that the total number of Professional Management Members has

on the dependent variable.87 But as shown by Dr. Wermers, this independent

variable dramatically alters the results of Dr. Buetow’s regression analysis:



                                            .88 This one omitted variable demonstrably

alters the results of the regression analysis.




85
   Est. of Hill v. ConAgra Poultry Co., No. CIV.A 4:94CV0198-HLM, 1997 WL
538887, at *7–8 (N.D. Ga. Aug. 25, 1997).
86
   See Freeland v. AT&T Corp., 238 F.R.D. 130, 145 (S.D.N.Y. 2006); Hill, 1997
WL 538887, at *8.
87
   See Buetow Supp. Rep. ¶¶ 25–42; Buetow Dep. at 272:2–19.
88
   Wermers Rebuttal ¶ 93.

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     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 29 of 33




      B.   The Regression Analysis Contained in Dr. Buetow’s Rebuttal Report
           Should Be Excluded Because It Cannot be Verified.

      Dr. Buetow performed a second regression analysis in which he compares

“the risk-adjusted returns earned by [Professional Management participants] as

compared to [non-participants].”89       Dr. Buetow contends that his analysis

demonstrates that Plan participants who did not enroll in Professional Management

achieved a greater risk-adjusted return during the Class Period than participants who

did enroll.90   He claims this shows that participants did not “benefit” from

Professional Management.

      Dr. Buetow’s regression suffers from a fundamental problem: it cannot be

replicated. Although Dr. Buetow has provided (1) the raw data used in his regression

and (2) a high-level written description of how his regression calculations were

performed,91 despite repeated requests from Defendants, he refused to provide the

actual numerical calculations he performed. This “intermediate” step is critical, as

there are different ways to incorporate the return data into the regression, affecting

its final results. For example, while Dr. Buetow compares “weighted” returns of

participants,92 those returns can be “weighted” in different ways (such as by looking


89
   Buetow Rebuttal ¶ 58.
90
   Id. ¶ 59.
91
   See Buetow Rebuttal, Appx. 2.
92
   Id. ¶ 57.

                                         23
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 30 of 33




at different points in time to determine participants’ assets). Nor is it clear if

Dr. Buetow accounts for the time required for Professional Management to transition

participants to their new asset allocation after they enroll, as the returns earned

during this period may be primarily attributable to participants’ preexisting

investments.

      Dr. Buetow’s lack of supporting data also makes it impossible to test under

cross-examination, let alone verify, whether he performed his regression

calculations correctly. This is not a hypothetical concern: the regression requires

complicated calculations, such as subtracting varying tiers of Professional

Management fees from participants’ returns.93 And other backup data Dr. Buetow

produced demonstrates that he committed errors in his calculations.94         Such

prevalent errors have previously contributed to a court discrediting Dr. Buetow’s

opinions as “unreliable.”95

      In sum, a general description from Dr. Buetow of his regression analysis is

not enough, and neither Defendants nor this Court are required to “tak[e]




93
   See id. (noting calculation is performed “net of fees”).
94
   See Wermers Rebuttal ¶¶ 23–25.
95
   See Ramos v. Banner Health, 461 F. Supp. 3d 1069, 1091–92 (D. Colo. 2020)
(noting Dr. Buetow “corrected his expert report multiple times to correct serious
errors in his damage calculations”).

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     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 31 of 33




[Dr. Buetow’s] word for it” that the regression was done correctly.96 An expert who

can only “identify his methodology,” but cannot explain “its underlying premises

and assumptions,” has not demonstrated that his opinions are reliable.97 And because

the Court has an independent obligation to ensure the reliability of Dr. Buetow’s

expert testimony, the regression contained in his Rebuttal Report must be excluded.98

                                 CONCLUSION

      This Court should exclude the expert opinions and testimony of Dr. Buetow.

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96
   Frazier, 387 F.3d at 1261.
97
   See Barnette v. Grizzly Processing, LLC, No. 10-77-ART, 2012 WL 293305, at
*1 (E.D. Ky. Jan. 31, 2012); see also Lexington Ins. Co. v. Newborn Fabricating,
Inc., No. 14-CV-610, 2016 WL 6652796, at *6 (N.D. Okla. Aug. 29, 2016).
98
   See McClain v. Metabolife Int’l, Inc., 401 F.3d 1233, 1244 (11th Cir. 2005).

                                         25
Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 32 of 33




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                               26
     Case 1:18-cv-01566-SDG Document 236-1 Filed 07/12/21 Page 33 of 33




                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1D, the undersigned certifies that the foregoing complies

with the font and point selections permitted by LR 5.1B. This Brief was prepared

on a computer using the Times New Roman font (14 point).

      Respectfully submitted this 12th day of July, 2021.



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